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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION




ELIZABETH A. GASS and
DEBORAH DEJONGE,

               Plaintiffs,
                                                        File No. 1:05-CV-856
v.
                                                        HON. ROBERT HOLMES BELL
MARRIOTT HOTEL SERVICES, INC.
and ECOLAB, INC.,

               Defendants.
                                             /

                                       OPINION

         This is a negligence action in which Plaintiffs allege that they suffered chemical

poisoning as a result of Defendants' spraying of pesticides in their hotel room. Defendants

have filed motions for summary judgment, to strike expert witnesses, and to strike affidavit

and other evidence. For the reasons that follow, judgment will be entered in Defendants'

favor.

                                             I.

         Plaintiffs Elizabeth A. Gass and Deborah DeJonge were guests at Defendant Marriott

Hotel Services, Inc.'s Wailea Marriott Hotel ("Hotel") in Maui, Hawaii from August 31, 2004

to September 7, 2004. The Hotel received pest control services from Defendant Ecolab, Inc.

("Ecolab"). Ecolab treated guest rooms at the resort on a quarterly basis. (Medeiros Dep.
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at 36). In addition, Ecolab would address additional pest elimination issues that were noted

by the housekeeping department on a "service request log."

       On September 6, 2004, Plaintiff DeJonge reported to housekeeping that there was a

dead cockroach by the sliding door of Plaintiffs' room, Room 1400. (Pl. Ex. A). The

cockroach was removed and the incident was reported on the Ecolab service request log. (Pl.

Ex. B).

          On September 7, 2004, three representatives of Ecolab came to the Hotel to perform

routine quarterly servicing of certain guest rooms. After completing the quarterly servicing

they checked the service request log and noted a reference to the cockroach in Plaintiffs'

room. (Medeiros Dep. at 54).

       Defendants have presented evidence that two Ecolab employees, Michael Medeiros

and Eduard Rivera, knocked on the door to Room 1400. (Medeiros Dep. at 54). They

received no response so they entered with the master key provided by the Hotel. In less than

a minute, and before they had started spraying, Plaintiff DeJonge entered the room. They

advised her that they were there to spray because of the cockroach report and asked if they

could spray. Plaintiff DeJonge did not respond to their question. Rivera sprayed two quick

squirts of the insecticide SSI-50 (similar to Raid) from a 13 ounce aerosol can: one squirt

to the underside of the countertop and one squirt on the side of the refrigerator. Plaintiff

DeJonge became very upset, so Medeiros told Rivera to stop spraying and they left the room.

(Medeiros Dep. at 54-59, 62-63).



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       Plaintiffs' evidence regarding Defendants' activities in their room varies greatly from

Defendants' evidence. Plaintiff DeJonge testified that on September 7 she and Plaintiff Gass

had been lounging outside. When she returned to the room through the sliding door there

were three men standing in her room, two of whom were wearing masks, had tanks on their

backs, and were spraying pesticides from the tanks with a spray wand attachment. The room

was cloudy and had a thick, rancid, acrid odor. (DeJonge Dep. at 85-86;101-05). Plaintiff

DeJonge stayed by the sliding door and yelled at the men to stop spraying. They stopped for

a moment, but then resumed spraying. When she threatened to call the hotel manager they

stopped spraying and left the room. (DeJonge Dep. at 85-86, 101-05).

       Plaintiff DeJonge used the telephone in the room to call the front desk and asked the

manager to come immediately. She waited for the manager outside. (DeJonge Dep. at 114).

When the manager arrived she spoke to him outside. She told him that when she asked to

have the roach removed she did not want the room treated. (Ex. D). She complained that the

spraying might have ruined her belongings, that the smell was making her sick and that she

needed a new room. (DeJonge Dep. at 115). After he agreed to move Plaintiffs to another

room Plaintiff DeJonge went to explain the situation to Plaintiff Gass. (DeJonge Dep. at

127-28). Plaintiff Gass did not get excited and the more Plaintiff Gass discounted the

magnitude of the situation, the more excited Plaintiff DeJonge became because she was

starting to feel ill. (DeJonge Dep. at 128). Plaintiffs returned to their room, quickly packed




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their luggage, and waited in the hallway for the Hotel Manager to return. (DeJonge Dep.

132-33).

       After moving their luggage to another room both Plaintiffs began to feel sick.

Plaintiffs called the front desk complaining of numbness to their tongues, stomach aches, and

seeing stars. (Pl. Ex. C, D). The Hotel arranged for them to be transported to a doctor. The

doctor gave the Plaintiffs prednisone and advised them to drink a lot of water. (Pl. Ex. D,

S, Z). Plaintiffs flew home to Michigan later that day.

       Since their return to Michigan Plaintiffs have received medical and psychological

treatment for their continuing complaints of facial swelling, nausea, diarrhea, headaches,

discolored tongues, memory loss, mental confusion, blurred vision, fatigue, joint pain, mood

swings, hormonal issues, chemical sensitivity, rashes, skin lesions, body aches, and dizziness.

(Pl. Ex. S, T, U, V, AA, HH).

       Plaintiffs filed this three-count complaint alleging that Defendants negligently allowed

dangerous chemicals to be sprayed inside their hotel room while it was still occupied by

Plaintiffs and their belongings, and that this negligence caused Plaintiffs to suffer chemical

poisoning and other damages associated with that poisoning.

       Defendants have filed a motion for summary judgment, a motion to strike experts, and

a motion to strike affidavits.




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                                             II.

       Defendants move to strike Plaintiffs' experts for failure to make a timely or adequate

Rule 26 disclosure.

       The March 7, 2006, Case Management Order required Plaintiffs to identify their

experts by May 15, 2006, and to provide their Rule 26(a)(2) written expert reports by July 1,

2006. (Docket # 11). Discovery was scheduled to close on December 15, 2006. On May 15,

2006, Plaintiffs filed their Rule 26 disclosures and disclosure of expert witnesses, and

identified Tom D'Muhala and Timothy J. Gibb, Ph.D. as their liability experts. (Docket # 26

& 27). Plaintiffs advised that Dr. Gibb would testify regarding the procedure the Defendants

used with respect to the chemical applications, the dangers associated with those chemicals,

ventilation issues, safety procedures which should have been followed and Defendants'

negligence with respect to the chemical application, the lack of safety for hotel guests and

the actions of Defendants thereafter which resulted in the Plaintiffs' damages. Plaintiffs

attached the curriculum vitae of Dr. Gibb.

       Plaintiffs did not file any written expert reports by the July 1, 2006 deadline.

Defendants advised Plaintiffs by letter dated August 8, 2006, that based upon Plaintiffs'

failure to produce expert reports Defendants had concluded that Plaintiffs did not intend to

use any testifying experts.

       It was not until November 14, 2006 that Plaintiffs sent Defendants a copy of a report

prepared by Dr. Gibb. In that report Dr. Gibb noted generally that without information



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concerning the rate and application of the chemical, he could not state that the label was

violated. He listed some unanswered questions, and then noted:


       General standard of care when using insecticides dictates that persons/guests
       should not be present when an insecticide aerosol application is made. This
       is not a legal standard but rather an ethical standard that is accepted throughout
       the industry. It is clear that this standard was breached in the case of your
       clients.

(Pl. Resp. to Mot. to Strike, Ex. 2). In response to Defendants' motion for summary judgment

Plaintiffs have submitted an additional letter from Dr. Gibb. (Pl. Resp. Mot. to Strike Ex. 7).

Dr. Gibb notes in this handwritten letter dated February 13, 2007, that it remains unclear as

to what exact pesticides may or may not have been applied in the room, and that "individual

differences in reactions and symptoms expressed are directly related to dose, time of

exposure and specific chemicals to which a person is exposed." (Pl. Resp. Mot. to Strike

Ex. 7) . With respect to the standard of care, Dr. Gibb listed some general rules on the

manner in which pesticides should be applied to public sensitive areas, including hotel

rooms. (Pl. Resp. Mot. to Strike Ex. 7).

       Plaintiffs have not provided any written report from Mr. D'Muhala. Plaintiffs now

advise that if they call Mr. D'Muhala, it will only be in rebuttal to the testimony of

Defendants' experts. (Pl. Resp. to Mot. to Strike at 6).

       Rule 26(a) of the Federal Rules of Civil Procedure requires an expert witness to

provide a written report containing, inter alia "a complete statement of all opinions to be

expressed and the basis and reasons therefor." F ED. R. C IV. P. 26(a)(2)(B). The disclosures

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are intended to eliminate surprise, to avoid unnecessary depositions, to reduce costs, and to

enhance the court's gatekeeping role. Salgado v. General Motors Corp., 150 F.3d 735, 741

n.6 (7th Cir. 1998); F ED. R. C IV. P. 26 Advisory Committee Notes, 1993 Amendments,

Paragraph (2).    The conclusory Gibbs reports, in addition to being untimely, are utterly

lacking in the detail required by Rule 26(a)(2). They do not disclose "a complete statement

of all opinions to be expressed," nor do they disclose "the basis and reasons" for his opinions,

the "data or other information" he considered in forming his opinions, the compensation he

is to be paid, or a listing of other cases in which he has testified as an expert. F ED. R. C IV.

P. 26(a)(2)(B).

       Plaintiffs admit that their expert report was untimely, but contend that the untimely

disclosure was due to late discovery responses from Defendants. They also note that

Defendants also submitted late expert reports.

       If a party without substantial justification fails to disclose information required by

Rule 26(a), that party "is not, unless such failure is harmless, permitted to use as evidence

at a trial, at a hearing, or on a motion any witness or information not so disclosed." F ED. R.

C IV. P. 37(c)(1). "The exclusion of non-disclosed evidence is automatic and mandatory

under Rule 37(c)(1) unless non-disclosure was justified or harmless." Dickenson v. Cardiac

and Thoracic Surgery of Eastern Tenn., 388 F.3d 976, 983 (6th Cir. 2004) (quoting Musser

v. Gentiva Health Servs., 356 F.3d 751, 758 (7th Cir. 2004)). Plaintiffs' asserted excuses do




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not provide substantial justification for their failure to comply with the provisions of Rule

26(a)(2).

       Defendants also object to Plaintiffs offering any of their physicians as experts because

Plaintiffs failed to provide any Rule 26(a)(2) report for any of the physicians they identified

as having provided treatment to Plaintiffs.

       Plaintiffs' expert witness disclosure indicated Plaintiffs' intent to rely on the physicians

referenced in their Rule 26 disclosures. (Docket # 27). Plaintiffs disclosed the names of

twelve individuals or institutions that provided healthcare to Plaintiffs, and identified

Drs. Natzke, DeJonge, Moore and DeBoe as the primary physicians who have treated

Plaintiffs for the chemical contamination issues. Plaintiffs disclosed that the doctors listed

"will testify regarding the treatment they have rendered to the Plaintiffs as a result of the at

issue incident and their health prior to said chemical contamination." (Docket # 26 at 7).

        The precise scope of Defendants' request to strike the testimony of Plaintiffs'

physicians is not clear. Plaintiffs correctly note that it is generally understood that "a treating

physician . . . can be deposed or called to testify at trial without any requirement for a written

report." F ED. R. C IV. P. 26, Advisory Committee Notes, 1993 Amendments. Paragraph (2).

Although a treating physician is not required to file an expert report about treatment, there

is a split of authority as to whether an expert report is required when a physician's testimony

exceeds the scope of treatment and ventures into more general expert opinion testimony.

See Musser, 356 F.3d at 758 n.3 (and cases cited therein). See also Rogers v. Detroit Edison



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Co., 328 F. Supp. 2d 687, 689-90 (E.D. Mich. 2004) ("a Rule 26(a)(2)(B) report is not

required from a treating physician unless the physician will testify to matters learned outside

the scope of treatment.").

       The Sixth Circuit has recently clarified the appropriate analytical framework for

physician expert testimony in Fielden v. CSX Transportation, Inc., No. 05-4377, — F. 3d —,

2007 WL 1028941 (6th Cir. Apr. 6, 2007). In Fielden the court held that under the

circumstances of that case the district court erred in excluding the physician's testimony as

to the cause of the plaintiff's carpal tunnel syndrome. The court noted that under Rule

26(a)(2)(B) a party needs to file an expert report from a treating physician only if that

physician was "retained or specially employed to provide expert testimony," id. at *3, and

determined that there were no grounds to hold that the physician had functioned as a retained

expert in that case. Id. at *5.

       Fielden teaches that the need for an expert report from physicians depends on factors

such as whether the physicians were retained to provide expert testimony, whether they

formed their opinions on causation at the time of treatment or in anticipation of litigation,

whether the lack of a report would implicate Rule 26(a)'s purposes of avoiding surprise and

unnecessary depositions, whether there is room for debate as to causation, and whether the

physician will testify to issues beyond those covered in ordinary medical training. Id. at

*4-*6. Defendants' motion addresses all of Plaintiffs' physicians together. In light of Fielden

it would be error for this Court to strike all of Plaintiffs' physicians from testifying as to



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causation merely because Plaintiffs failed to file their expert reports. The Court is required

to consider the testimony of each physician individually.

       Accordingly, Defendants' motion to strike expert opinion will be granted in part and

denied in part. It will be granted with respect to Dr. Gibbs' and Mr. D'Muhala's opinions, and

denied with respect to the treating physicians, without prejudice to Defendants' right to

challenge the physicians' testimony on an individual basis.

                                             III.

       Defendants have also filed a motion to strike affidavit and other inadmissible exhibits

relied on by Plaintiffs in opposition to Defendants' motions for summary judgment.

Defendants contend that opinion testimony from Plaintiffs' treating physicians on the issue

of causation should be stricken for failure to file expert reports and because they are not

qualified to give expert opinions on the issue of causation.

       In response to Defendants' motion to strike Plaintiffs have presented the affidavit of

Gerald Natzke, D.O., board certified in Environmental Medicine, who has been treating

Plaintiffs since October 2004. Dr. Natzke diagnosed their condition as acute pesticide

exposure.   (Natzke Aff. ¶¶ 5, 7).     Dr. Natzke relates Plaintiffs' symptoms, chemical

sensitivity, and treatment to the pesticide poisoning they sustained in Hawaii on September 7,

2004. (Natzke Aff. ¶¶ 5, 13, 14).

       Plaintiffs have also presented excerpts from the deposition testimony of Robert A.

DeJonge, D.O., Plaintiff DeJonge's husband, who has been treating both women and has



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placed them on a detoxification program for their exposure to toxins at the Hotel on

September 7, 2004. (DeJonge Dep. at 68-69, 122-23).

       As noted above, a treating physician is not generally required to file an expert report

unless he is functioning as a retained expert in the case. Fielden, 2007 WL 1028941 at *5.

As noted in Fielden, "doctors may need to determine the cause of an injury in order to treat

it." 2007 WL 1028941 at *3. Thus, they may be able to testify as to causation, even without

an expert report, if they formed their opinions as to causation at the time they treated the

plaintiff rather than at the request of counsel. Id.

       Because there is room for serious debate on the issue of causation in this case, the lack

of an expert report from these doctors has an effect on Rule 26(a)'s purpose of allowing

adequate and efficient case preparation and preventing surprise. See Fielden, 2007 WL

1028941 at * 4. Nevertheless, it appears that the doctors' causation determinations were

made at least in part for purposes of treatment rather than in preparation for trial, and it

further appears that the doctors' diagnosis of multiple chemical sensitivities related to the

September 7, 2004, incident in the Hotel was revealed to Defendants during the course of

discovery. Accordingly, the Court concludes that the lack of expert reports should not

prevent the treating physicians from testifying as to causation to the limited extent that their

opinions about the cause of Plaintiffs' injuries was a necessary part of their treatment. See

Fielden, 2007 WL 1028941 at * 3 (citing cases).




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       Defendants challenge the admissibility of these doctors' opinions, however, not only

for lack of expert reports, but also because they lack sufficient scientific foundation.

Defendants note that neither Dr. Natzke nor Dr. DeJonge is a toxicologist, pharmacologist,

chemist, allergist, immunologist or oncologist, and that therefore they are not qualified to

testify that Plaintiffs' exposure to pesticides at the Hotel on September 7, 2004, is causally

connected to their claimed ailments.

       Admissibility of expert opinions under Rule 702 of the Federal Rules of Evidence and

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), is a separate consideration from

the need for an expert report. Rule 702 provides:

       If scientific, technical, or other specialized knowledge will assist the trier of
       fact to understand the evidence or to determine a fact in issue, a witness
       qualified as an expert by knowledge, skill, experience, training, or education,
       may testify thereto in the form of an opinion or otherwise, if (1) the testimony
       is based upon sufficient facts or data, (2) the testimony is the product of
       reliable principles and methods, and (3) the witness has applied the principles
       and methods reliably to the facts of the case.

F ED. R. E VID. 702. In applying Rule 702 "the trial judge must ensure that any and all

scientific testimony or evidence admitted is not only relevant, but reliable." Daubert, 509

U.S. at 589. Pursuant to Daubert the Court should consider the following factors in

determining the admissibility of expert testimony:


       (1) whether the reasoning or methodology underlying the expert's testimony
       is scientifically valid; and (2) whether that reasoning or methodology properly
       could be applied to the facts at issue to aid the trier of fact.

United States v. Smithers, 212 F.3d 306, 315 (6th Cir. 2000).

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       In response to Defendants' Daubert challenge Plaintiffs have presented the affidavit

of Dr. Natzke. According to Dr. Natzke, Plaintiffs' blood tests did not reveal any detectable

levels for the products the lab tested for, which included pyrethroids, which are used in many

pesticides. (Natzke Aff. ¶ 8). Dr. Natzke does not know what chemical they were exposed

to (Natzke Dep. ¶ 9). Nevertheless, he explained that he related the Plaintiffs' symptoms to

the pesticide contamination they sustained at the Hotel on September 7, 2004,

       based upon the history they gave me, the lack of any such symptoms prior to
       the exposure, the immediate onset of symptoms after this exposure resulting
       in subsequent medical treatment and the ongoing complaint of such symptoms
       from the date of the exposure until I saw them in mid-October. In addition, my
       opinion is based upon my years of experience in treating thousands of patients
       exposed to chemical contamination, including pesticides.

(Natzke Aff. ¶ 16). In addition, Dr. Natzke has stated his belief that "as a result of the

chemical contamination that Mrs. Gass and Mrs. Dejonge sustained on September 7, 2004,

while in Hawaii, they are now at an increased risk for cancer, especially breast cancer as well

as at risk for an auto-immune disease." (Natzke Aff. ¶ 15).

       Dr. DeJonge also has no personal knowledge of what chemicals Plaintiffs were

exposed to. (R. DeJonge Dep. at 67-69). "What toxins she's been exposed to is the big

mystery as far as I'm concerned." (R. DeJonge Dep. at 67). He nevertheless has opined that

Plaintiffs were poisoned by the pesticides they were exposed to on September 7, 2004, and

that this exposure has resulted in their black and green tongues, an increased risk for all

cancers, and Plaintiff DeJonge's auto-immune disease. (R. DeJonge Dep. at 67, 69, 122-25).




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       For purposes of this motion the Court does not question that Dr. Natzke and

Dr. DeJonge are experienced physicians and are qualified to diagnose medical conditions and

treat patients. "The ability to diagnose medical conditions is not remotely the same, however,

as the ability to deduce, delineate, and describe, in a scientifically reliable manner, the causes

of those medical conditions." Wynacht v. Beckman Instruments, Inc., 113 F. Supp. 2d 1205,

1209 (E.D. Tenn. 2000).

       Dr. Natzke and Dr. DeJonge have not based their causation opinions on any testing

data. The only blood tests Dr. Natzke relied on did not reveal any detectable levels for the

products the lab tested for, which included pyrethroids used in many pesticides. (Natzke Aff.

¶ 8). Neither have Plaintiffs' doctors related their causation opinions to any scientific or

medical studies or literature. The only literature referenced in Dr. Natzke's affidavit is an

article entitled "Experiences Living with Multiple Chemical Sensitivities." The article

discusses the symptoms experienced by those who have been diagnosed with Multiple

Chemical Sensitivities ("MCS"). Dr. Natzke asserts that many, if not all, of the symptoms

and conditions referenced in the article apply to Plaintiffs. (Natzke Aff. ¶ 14). Notably,

however, the article does not support Dr. Natzke's causation opinion because the article does

not address the cause of MCS.

       "Under the Daubert standard, epidemiological studies are not necessarily required to

prove causation, as long as the methodology employed by the expert in reaching his or her

conclusion is sound." Benedi v. McNeil-P.P.C., Inc., 66 F.3d 1378, 1384 (4th Cir. 2004).



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       The causation opinions expressed by Dr. Natzke and Dr. DeJonge are based largely

on the perceived temporal connection between Plaintiffs' exposure and the onset of their

symptoms. In Wynacht the court held inadmissible a doctor's causation opinion based upon

a similar temporal connection:

       In short, Dr. Ziem's opinion that the chemicals present in the Synchron CX-7
       caused Wynacht's fibromyalgia, chronic fatigue syndrome, toxic
       encephalopathy, and other health problems, is based solely on the temporal
       relationship between the January chemical spill, burning sensations reported
       by Wynacht, and Dr. Ziem's subsequent diagnosis of eighteen maladies. Given
       the complex nature of the facts giving rise to this litigation, this perceived
       temporal connection, especially given Dr. Ziem's failure to identify any
       biochemical, medical, or toxicological principles or studies supporting it, falls
       well short of the Daubert reliability standard. Dr. Ziem's methodology simply
       does not reflect the intellectual rigor required of experts pursuant to Rule 702.

113 F. Supp. 2d at 1209 (citations omitted). The Wynacht court also noted that "[w]ithout

testing data or support in scientific or medical literature, the Court cannot say with any

confidence whether her reasoning would have any acceptance in the medical or scientific

communities." Id. at 1210.

       "A temporal connection standing alone is entitled to little weight in determining

causation." Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 670 (5th Cir. 1999). "However,

a temporal connection is entitled to greater weight when there is an established scientific

connection between exposure and illness or other circumstantial evidence supporting the

causal link." Id. In Curtis the court permitted the doctor to testify as to causation where

there was not only a strong temporal connection between the refinery workers' exposure to

benzene and the onset of symptoms, but also a subsidence of symptoms when the plaintiffs

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left the refinery, and scientific literature establishing a connection between benzene and the

symptoms experienced by the plaintiffs. Id. See also Heller v. Shaw Indus., Inc., 167 F.3d

146, 158-59 (3d Cir. 1999) (affirming exclusion of doctor's causation testimony based on

unreliable temporal relationship and no scientific studies). Plaintiffs' treating doctors have

not referenced any scientific literature establishing a connection between Plaintiffs' exposure

to some unknown pesticide and symptoms that they continue to experience over two years

after the exposure. Their reliance on the temporal connection is accordingly entitled to little

weight.

       Another appropriate method for making a determination of causation for an individual

instance of disease is known as "differential diagnosis," defined as:

       [t]he method by which a physician determines what disease process caused a
       patient's symptoms. The physician considers all relevant potential causes of
       the symptoms and then eliminates alternative causes based on a physical
       examination, clinical tests, and a thorough case history.

Hardyman v. Norfolk & Western Railway Co., 243 F.3d 255, 260 (6th Cir. 2001) (quoting

Federal Judicial Center, Reference Manual on Scientific Evidence 214 (1994)). See also

Westberry v. Gislaved Gummi AB, 178 F.3d 257, 263 (4th Cir. 1999) (" a reliable differential

diagnosis provides a valid foundation for an expert opinion."). The conclusory submissions

from Dr. Natzke and Dr. DeJonge, however, are not sufficient to show that their conclusions

are the result of a reliable differential diagnosis. See, e.g., Westberry, 178 F.3d at 265 ("A

differential diagnosis that fails to take serious account of other potential causes may be so

lacking that it cannot provide a reliable basis for an opinion on causation.").

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       Plaintiffs suggest that Dr. Natzke is qualified to testify as to causation because he has

treated over 1,000 other patients for chemical and/or pesticide exposure. A doctor may be

able to support his conclusions by reference to his "education, training, and experience."

However, "[i]f the witness is relying solely or primarily on experience, then the witness must

explain how that experience leads to the conclusion reached, why that experience is a

sufficient basis for the opinion, and how that experience is reliably applied to the facts." F ED.

R. E VID. 702, Advisory Committee Notes, 2000 Amendments. In In re Meridia Products

Liability Litigation, 328 F. Supp. 2d 791 (N.D. Ohio 2004), aff'd, 447 F.3d 861 (6th Cir.

2006), the court excluded the causation testimony from a doctor who did not provide the

court with more than conclusory statements regarding his opinions. Id. at 806. Although Dr.

Natzke supports his causation opinion by reference to his years of experience, his

explanation, like the explanation of the doctor in In re Meridia, is too conclusory to satisfy

the requirements of Daubert.

       In light of the treating physicians' lack of knowledge concerning what chemicals

Plaintiffs' were exposed to, the lack of diagnostic tests verifying exposure to any particular

chemicals, the lack of scientific literature supporting a link between exposure to pesticides

in general with the ongoing symptoms described by Plaintiffs, and the failure to address other

potential causes of Plaintiffs' symptoms, the Court concludes that Dr. Natzke and

Dr. DeJonge have not demonstrated a scientifically reliable method to support their

conclusions as to causation in this particular matter and may not be permitted to testify as to



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the cause of Plaintiffs' symptoms. Although their causation conclusion is excluded as

unreliable, they may still be permitted to testify to Plaintiffs' symptoms, tests, diagnosis, and

treatment. See Heller v. Shaw Industries, Inc. 167 F.3d 146, 159 n.8 (3rd Cir. 1999) (noting

that treating physician, whose causation conclusion is excluded as unreliable, should have

been permitted to testify about examination, tests and diagnosis).

                                              IV.

       With these evidentiary rulings in mind, the Court will turn to Defendants' motion for

summary judgment.

       Under Rule 56(c) of the Federal Rules of Civil Procedure, summary judgment is

proper if there is no genuine issue as to any material fact and the moving party is entitled to

judgment as a matter of law. In evaluating a motion for summary judgment the Court must

look beyond the pleadings and assess the proof to determine whether there is a genuine need

for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). If

Defendants carry their burden of showing there is an absence of evidence to support a claim

then Plaintiff must demonstrate by affidavits, depositions, answers to interrogatories, and

admissions on file, that there is a genuine issue of material fact for trial. Celotex Corp. v.

Catrett, 477 U.S. 317, 324-25 (1986).

       In considering a motion for summary judgment, the court must construe the evidence

and draw all reasonable inferences in favor of the nonmoving party. Minges Creek, L.L.C.

v. Royal Ins. Co. of America, 442 F.3d 953, 955-56 (6th Cir. 2006) (citing Matsushita, 475



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U.S. at 587). Nevertheless, the mere existence of a scintilla of evidence in support of

Plaintiff's position is not sufficient to create a genuine issue of material fact. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). The proper inquiry is whether the evidence

is such that a reasonable jury could return a verdict for Plaintiff. Id. See generally, Street

v. J.C. Bradford & Co., 886 F.2d 1472, 1476-80 (6th Cir. 1989).

       Plaintiffs allege that the Hotel and Ecolab were negligent in spraying the room with

dangerous chemicals while it was still occupied and that as a result of their actions Plaintiffs

have suffered chemical poisoning.

       A federal court sitting in diversity applies the choice-of-law provisions of the forum

state. NILAC Int'l Mktg. Group v. Ameritech Servs., Inc., 362 F.3d 354, 358 (6th Cir. 2004)

(citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941)). Under Michigan

choice of law principles, the law of the forum applies unless there is a "rational reason" to

displace it. Olmstead v. Anderson, 428 Mich. 1, 24, 400 N.W.2d 292 (1987). Defendants

have asserted that Michigan law applies and Plaintiffs have not suggested any rational reason

to displace it with the law of Hawaii or any other state. Accordingly, the Court assumes that

Michigan law governs this controversy.

       Plaintiffs claim that they have been injured because of Defendants' negligence in

exposing them to pesticides. In order to make out their negligence claims Plaintiffs must

prove "(1) that defendant owed them a duty of care, (2) that defendant breached that duty,

(3) that plaintiffs were injured, and (4) that defendant's breach caused plaintiffs' injuries."



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Henry v. Dow Chemical Co., 473 Mich. 63, 71-72, 701 N.W.2d 684, 688 (2005). Plaintiffs'

claims that they suffered medical complications as a result of their exposure to a toxic

substance are known as toxic tort claims. Id. at 67.

       The parties have presented conflicting evidence as to what chemicals and what

quantity of chemicals were applied to Plaintiffs' room. Because the Court must construe the

evidence and draw all reasonable inferences in favor of the nonmoving party, Minges Creek,

442 F.3d at 955-56, for purposes of this motion the Court will assume that the facts are

consistent with the evidence presented by Plaintiffs. In other words, for purposes of this

motion the Court will assume that Defendants were advised not to spray the room, that they

did not receive permission from Plaintiffs to spray the room, and that they nevertheless

sprayed chemicals from their tanks onto the floor throughout the room.

A. Duty of Care

       Defendants contend that Plaintiffs cannot sustain their burden of proving that Marriott

or Ecolab breached any duty of care owed to Plaintiffs. In support of this contention

Defendants note that professional pest elimination services are highly regulated, (Def. Ex. 7,

Dr. Gary Bennett Rpt. at 1-2), and that expert testimony is generally required to establish the

applicable professional standard of conduct and its breach. Phillips v. Mazda Motor Mfg.

(USA) Corp., 204 Mich. App. 401, 409-10, 516 N.W.2d 502, 507 (1994). Defendants

contend that they are entitled to summary judgment because Plaintiffs have failed to produce

any competent, admissible expert testimony establishing that Marriott or Ecolab breached a



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relevant standard of care in connection with the application of an insecticide in Plaintiffs'

hotel room on September 7, 2004.

         Plaintiffs respond that under Hawaii law hotels have a duty to protect their guests

from unreasonable risk of physical harm, and a determination of whether a risk is reasonable

or unreasonable and whether the defendant's conduct was reasonable in the circumstances

are issues for the jury to decide. Corbett v. Assoc. of Apt. Owners of Wailua Bay View Apts.,

772 P.2d 693, 694-95 (Haw. 1989); Knodle v. Waikiki Gateway Hotel, Inc., 742 P.2d 377,

384 (1987). Plaintiffs have also presented evidence that spraying pesticides while a guest

is in the room and without the guest's consent was contrary to the policies of Ecolab and the

Hotel.

         Because Plaintiffs' theories are all premised on the harmful nature of the chemicals

used, and because Plaintiffs do not have a witness who can give an expert opinion on the

harmful nature of the chemicals, it appears to this Court that even if Plaintiffs can show that

the spraying was not authorized and was against Defendants' own policies, Plaintiffs cannot

show that the risk of spraying was unreasonable. Nevertheless, even if Court assumes that

Plaintiffs have come forward with sufficient evidence to establish an issue of fact as to

breach of a duty of care, that still begs the question as to whether that breach was the cause

of Plaintiffs' injuries.




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B. Causation

       Defendants contend that Plaintiffs cannot meet their burden of proving causation

because Plaintiffs have failed to offer any expert testimony establishing that Defendants'

conduct caused Plaintiffs' claimed illnesses.

       Causation does not always require expert testimony. "It is well settled that expert

testimony is unnecessary in cases where jurors 'are as capable of comprehending the primary

facts and of drawing correct conclusions from them as are witnesses possessed of special or

peculiar training.'" Wills v. Amerada Hess Corp., 379 F.3d 32, 46 (2nd Cir. 2004) (quoting

Salem v. United States Lines Co., 370 U.S. 31, 35 (1962)). "Where, however, the nexus

between the injury and the alleged cause would not be obvious to the lay juror, '[e]xpert

evidence is often required to establish the causal connection between the accident and some

item of physical or mental injury.'" Id. (quoting Moody v. Maine Cent. R.R. Co., 823 F.2d

693, 695 (1st Cir. 1987)). In a case where an injury has multiple potential etiologies, expert

testimony is necessary to establish causation. Id. Thus, in cases involving technical or

scientific principles beyond the knowledge of the ordinary person, causation may only be

established through competent, admissible expert testimony.

       Toxic tort cases fall within the class of cases that typically require expert testimony

to establish causation:

       Toxic tort cases present a unique challenge to the classical conception of
       causation. Other tort cases, such as slip-and-fall or car accident cases, feature
       scenarios where causation is fairly obvious-if one car collides with another,
       common sense dictates that a range of injuries from broken limbs to internal

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       bleeding to death can result. Toxic tort cases, however, generally involve
       less-common injuries that often function at the cellular level. The causation
       inquiry in toxic tort cases is more complicated because the injuries themselves
       are usually not immediately obvious and the connection between exposure and
       injury is not a matter of common sense or everyday experience. Moreover, a
       variety of exposures frequently can associate with the condition.

In re Meridia, 328 F. Supp. 2d at 798. In Rink v. Cheminova, Inc., 400 F.3d 1286, 1297

(11th Cir. 2005), the plaintiff alleged exposure to an allegedly defective pesticide. The court

noted that "[t]oxic tort cases . . . are won or lost on the strength of the scientific evidence

presented to prove causation," and held that the grant of summary judgment was appropriate

because "sufficient evidence of causation was lacking without the expert testimony." Id. at

1297. See also Dodge v. Cotter Corp., 328 F.3d 1212, 1226 (10th Cir. 2003) ("As is true in

most any toxic tort action, the outcome of this case indisputably hinges on the testimony of

experts.").

       "To prove causation in a toxic tort case, a plaintiff must show both that the alleged

toxin is capable of causing injuries like that suffered by the plaintiff in human beings

subjected to the same level of exposure as the plaintiff, and that the toxin was the cause of

the plaintiff's injury." Bonner v. ISP Techs. Inc., 259 F.3d 924, 928 (8th Cir. 2001) (citing

Mitchell v. Gencorp, 165 F.3d 778, 781 (10th Cir. 1999). "In other words, the plaintiff must

put forth sufficient evidence for a jury to conclude that the product was capable of causing

her injuries, and that it did." Id. See also McClain v. Metabolife Intern., Inc. 401 F.3d 1233,

1241 (11th Cir. 2005) (holding that in toxic tort cases, "[s]cientific knowledge of the harmful

level of exposure to a chemical plus knowledge that plaintiff was exposed to such quantities

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are minimal facts necessary to sustain the plaintiff's burden. . . ."); In re Meridia, 328

F. Supp. 2d at 798 ("First, a plaintiff must show that the substance to which she was exposed

can cause the type of injury alleged. Next, a plaintiff must show that in her case, exposure

to the substance actually caused the alleged injury.").

       "[A] plaintiff must prove level of the exposure using techniques subject to objective,

independent validation in the scientific community." Mitchell v. Gencorp Inc., 165 F.3d 778,

781 (10th Cir. 1999). "At a minimum, the expert testimony should include a description of

the method used to arrive at the level of exposure and scientific data supporting the

determination. The expert's assurance that the methodology and supporting data is reliable

will not suffice." Id. "Absent supporting scientific data, any estimates or conclusions are

"little more than guesswork. Guesses, even if educated, are insufficient to prove the level of

exposure in a toxic tort case." Id.

       Plaintiffs are correct in their contention that the case law does not always require

evidence of the precise level of exposure to a toxic substance:

       [W]hile precise information concerning the exposure necessary to cause
       specific harm to humans and exact details pertaining to the plaintiff's exposure
       are beneficial, such evidence is not always available, or necessary, to
       demonstrate that a substance is toxic to humans given substantial exposure and
       need not invariably provide the basis for an expert's opinion on causation.

Westberry, 178 F.3d at 264. Nevertheless, none of the cases Plaintiffs have cited have

dispensed with the need for some evidence of the harmful level of exposure and the plaintiff's

exposure to support an expert's opinion on causation. As noted in Curtis, "Scientific



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knowledge of the harmful level of exposure to a chemical, plus knowledge that the plaintiff

was exposed to such quantities, are minimal facts necessary to sustain the plaintiffs' burden

in a toxic tort case." 174 F.3d Id. at 670 (quoting Allen v. Pennsylvania Engineering Corp.,

102 F.3d 194, 199 (5th Cir. 1996)). While a plaintiff need not produce a mathematically

precise table equating levels of exposure with levels of harm, a plaintiff must still make "a

threshold showing that he or she was exposed to toxic levels known to cause the type of

injuries he or she suffered." Mattis v. Carlon Elec. Products, 295 F.3d 856, 860-61 (8th Cir.

2002).

         Thus, in Westberry the court held that the plaintiff's expert did not have to point to a

specific level of exposure to airborne talc where there was no dispute that exposure to high

concentrations of airborne talc could cause irritation to mucous membranes and there was

evidence of a "substantial exposure." Id. In Curtis the court determined that the expert had

adequate support for his general causation opinion that exposure to benzene at levels of 200-

300 ppm would cause the injuries suffered by plaintiffs and for his finding that the refinery

workers were exposed to benzene at levels several hundred times the permissible exposure

level of 1 ppm. Curtis, 174 F.3d at 670 & 672. In Bonner, the court held that the expert did

not need to quantify the amount of toxin to which the plaintiff was exposed where there was

sufficient evidence to show that the plaintiff was exposed to a quantity that exceeded safe

levels. 259 F.3d at 931.




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       Plaintiffs' ability to meet their burden of proof is severely compromised by the fact

that they do not even know what chemicals they were exposed to. For purposes of this

motion, however, the Court has assumed that the chemicals were sprayed from tanks.

Plaintiffs have presented evidence that the tanks were customarily used to spray Demand CS

and/or Suspend SE insecticide. (Medeiros Dep. at 145). Accordingly, the Court will assume

that Plaintiffs were exposed to one of these chemicals.

       Plaintiffs do not, however, have any expert witness who can testify that these

chemicals are capable of causing injuries like those suffered by Plaintiffs. Neither have they

produced any expert testimony as to what a harmful level of exposure to these chemicals

might be, or whether Plaintiffs were exposed to a sufficiently harmful level to bring about

their injuries. Although Plaintiffs have provided the material safety data sheets ("MSDS")

on these products, (Pl. Supp. Mem., Ex. 2-4), these disclosures do not indicate what a toxic

level of exposure might be, nor do they suggest that the products in any dosage are capable

of causing the long-term effects Plaintiffs claim they have suffered as a result of their

minimal exposure. In short, Plaintiffs have not produced any expert evidence that the

products are capable of causing their injuries, nor that they did in fact cause their injuries.1



       1
        Even if the Court allowed the testimony of Plaintiffs' proposed liability expert,
Dr. Gibbs, the result would not be different because his expert opinion addresses only the
standard of care, and contains no opinion on the issue of causation. Moreover, because Rule
26(a)(2)(b) requires an expert report to contain "a complete statement of all opinions to be
expressed," it is proper to exclude opinions not expressed in the expert report. Brainard v.
American Skandia Life Assur. Corp., 432 F.3d 655, 664 (6th Cir. 2005). Similarly, even if
Plaintiffs' physicians were permitted to testify as to causation, they are not in a position to

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       Plaintiffs assert that even without expert testimony there is sufficient circumstantial

evidence to support their claims that they sustained chemical contamination at the Hotel on

September 7, 2004, which has resulted in their ongoing symptoms and treatment. They note

that this case involves two genetically different individuals who suffered exposure to the

same chemical product, had an immediate onset of symptoms, and have continued to have

the same symptoms thereafter. Plaintiffs note that their doctors will testify that their

symptoms are consistent with chemical poisoning. They also note that their symptoms are

consistent with the health hazards referenced in the MSDS for Demand CS Insecticide and

Suspend SC Insecticide. (Pl. Supp. Mem. at 9).

       Even if Plaintiffs can show that their symptoms are "consistent with" exposure to a

particular chemical, such a showing would not satisfy their burden of proof as to causation.

In Turpin v. Merrell Dow Pharmaceuticals, Inc., 959 F.2d 1349 (6th Cir. 1992), the Sixth

Circuit held that proof that Bendectin is "capable of causing," "could cause" or that its effects

are "consistent with causing" birth defects, was evidence of a possibility rather than a

probability, and was not sufficient to support a finding of causation. Id. at 1359-60.

Similarly, in Conde v. Velsicol Chemical Corp., 24 F.3d 809 (6th Cir. 1994), the court held

that the experts' testimony that chlordane exposure "is consistent with" the plaintiffs'




provide the information necessary to sustain Plaintiffs' burden of proof. They do not have
the expertise to provide a reliable expert opinion on whether one or more of the chemicals
could cause the type of injury alleged, the minimum exposure necessary to cause injury, or
the level of Plaintiffs' exposure.

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observed symptoms left too wide an analytical gap to permit an inference to be drawn on the

ultimate issue of medical causation. Id. at 814. See also Kolesar v. United Agri Products,

Inc., 412 F. Supp. 2d 686, 698 (W.D. Mich. 2006) (Enslen, S.J.) (holding that expert's

opinion that plaintiff's reported symptoms were "consistent with" possible consequences of

metam sodium exposure did not make more likely or not a conclusion that plaintiff was

injured due to chemical exposure). When the analytical gap between the evidence presented

and the inferences to be drawn is too wide, a jury should not be asked to speculate on the

issue of causation. Kalamazoo River Study Group v. Rockwell Intern. Corp., 171 F.3d 1065,

1073 (6th Cir. 1999).

       Plaintiffs' lack of evidence on the issue of causation is particularly striking in light of

the unrebutted and substantial evidence presented by Defendants showing the lack of any link

between Plaintiffs' non-specific constellation of symptoms to a limited exposure to pesticides

and the unconventional nature of the diagnosis and treatment they have been receiving.

(Prelim. Expert Reports of Dr. Gary Bennett, Dr. Marcia van Gemert, Dr. H. James Wedner

and Dr. Elissa P. Benedek, Def. Exs. 7, 10, 13, 15 & 16).

       Plaintiffs have not come forward with evidence to permit a jury to find the chemicals

to which they were exposed and the duration of their exposure was capable of causing the

types of injuries Plaintiffs' allege, much less that these chemicals were in fact responsible

for their injuries. Because Plaintiffs cannot sustain their burden of proving that any alleged




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breach of a relevant standard of care by Marriott or Ecolab was the cause of their injuries,

Defendants are entitled to summary judgment on Plaintiffs' claims against them.

         An order and judgment consistent with this opinion will be entered.




Dated:       May 7, 2007                   /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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